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 1
                            UNITED STATES DISTRICT COURT
 2
                         CENTRAL DISTRICT OF CALIFORNIA
 3

 4

 5
     UNITED STATES OF AMERICA,                Criminal No. 8:01-cr-00190-GLT

 6                                Plaintiff   ORDER TO UNSEAL
                     ,                        DOCUMENTS
 7

 8                       v.
 9
     THUAN QUANG HA,
10

11
                     Defendant.

12

13

14         Upon consideration of the Defendant’s Unopposed Motion to Unseal, it is
15   ORDERED that the motion is hereby GRANTED, and the following documents
16   are hereby unsealed:
17          •    Docket Entry 22- Document filed under seal (Feb. 5, 2002)
18          •    Docket Entry 24- Document filed under seal (Feb. 14, 2002)
19          •    Docket Entry 26- Document filed under seal (Feb. 14, 2002)
20          •    Docket Entry 28- Sealed Motion to Continue Sentencing (May 3,
21               2002)
22          •    Docket Entry 36- Report and Order Terminating Probation (Aug. 31,
23
                 2005)

24
             June 16, 2020
     Dated:_______________                            __________________
                                                ____________________________
25
                                                    Judge Cormac J. Carney
26
                                                    Chief U.S. District Judge
27

28



                  ORDER TO UNSEAL DOCUMENTS
